        United States Court of Appeals
             for the Fifth Circuit

                                No. 19-10013


Jacqueline Craig, Individually and on behalf of minors
J.H., K.H., and A.C.; Brea Hymond,

                                                        Plaintiffs—Appellees,

                                    versus

William D. Martin,

                                                      Defendant—Appellant.


               Appeal from the United States District Court
                   for the Northern District of Texas
                        USDC No. 4:17-CV-1020


       ON PETITION FOR REHEARING EN BANC

Before Richman, Chief Judge, Barksdale, and Duncan, Circuit
Judges.
Per Curiam:
       The petition for rehearing en banc is DENIED. At the request of
one of its members, the court was polled, and a majority did not vote in favor
of rehearing en banc (Fed. R. App. P. 35 and 5th Cir. R. 35).
       In the en banc poll, fourteen judges voted against rehearing (Chief
Judge Richman,         Judges Jones,         Smith,    Dennis,      Elrod,
                              No. 19-10013


Southwick, Haynes, Graves, Higginson, Ho, Duncan,
Engelhardt, Oldham, and Wilson), and two judges voted in favor
of rehearing (Judges Stewart and Willett).
      Treating the petition for rehearing en banc as a petition for panel
rehearing (5TH CIR. R. I.O.P. ), the petition for rehearing is DENIED.




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